818 F.2d 31
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Craig HARMON, Plaintiff,v.UNITED STATES of America, Internal Revenue Service,Defendant-Appellee.
    No. 87-3128.
    United States Court of Appeals, Sixth Circuit.
    May 14, 1987.
    
      Before GUY and BOGGS, Circuit Judges, and EDWARDS, Senior Circuit Judge.
    
    ORDER
    
      1
      This matter is before the court upon consideration of the motion of the appellants for a stay pending appeal and the motion of the Internal Revenue Service to dismiss the appeal as moot.  Appellants have failed to respond to appellee's motion.  Appellee has responded to the Motion for a stay.
    
    
      2
      Appellants appealed from the December 8, 1986, district court order that dismissed their petition to quash summonses directed to various third party record keepers.  Appellants also sought a stay of enforcement of the district court order.  However, the appellee has advised this court that the third party record keepers have complied with the summonses.  Since the parties to whom the summonses were issued have fully complied, no controversy exists and the appeal is moot.  Great Western Sugar Co. v. Nelson, 442 U.S. 92 (1979);  United States v. Aquinas College Credit Union, 635 F.2d 887 (6th Cir. 1980), cert. denied, sub nom, Schwallier v. United States, 450 U.S. 1042 (1981);  United States v. Patmon, 630 F.2d 458 (6th Cir. 1980).
    
    
      3
      It is ORDERED that the motion to stay pending appeal be denied, the motion to dismiss the appeal be granted and the case be remanded to the district court to vacate its December 8, 1986, order and to dismiss the case for mootness.
    
    